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 6

 7                   IN THE UNITED STATES DISTRICT COURT
 8                FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   THE UNITED STATES OF           )              CASE NO. S. 05-CR-343 FCD
     AMERICA,                       )
11                                  )              ORDER TO CONTINUE
               Plaintiff,           )              SENTENCING HEARING AND FOR
12                                  )              CONTINUATION OF TIME TO
          v.                        )              FILE THE PRESENTENCE
13                                  )              REPORT AND ANY OBJECTIONS
     ROSA GASPARIAN,                )
14                                  )
               Defendant.           )
15                                  )
                                    )
16    _____________________________ )
17

18         GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED
19   THAT Defendant Rosa Gasparian’s sentencing hearing in this matter currently set
20   for March 10, 2008 shall be continued to April 28, 2008 at 10:00 a.m. IT IS
21   FURTHER ORDERED the United States Probation Office shall distribute its draft
22   Presentence Report on or before March 24, 2008, and Defendant Gasparian shall
23   file any informal objections on or before April 7, 2008. IT IS FURTHER
24   ORDERED that the final Presentence Report be issued on or before April 14, 2008
25   and the parties are ordered to file any objections to the presentence report and any
26   sentencing memoranda on or before April 21, 2008. The Probation Office will
27   ///
28   ///


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 1   then have fourteen days to file any Addendum to the Presentence Report, if one is
 2   deemed necessary.
 3

 4   Dated: February 7, 2008
 5                                          _______________________________________
 6                                          FRANK C. DAMRELL, JR.
                                            UNITED STATES DISTRICT JUDGE
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